Case 2:10-cr-20581-RHC-MAR ECF No. 124, PageID.1467 Filed 04/26/13 Page 1 of 1


                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

UNITED STATES OF AMERICA

                     Plaintiff,
                                                  CR. NO. 10-20581
              vs.
                                                  HONORABLE ROBERT H. CLELAND
LARI ZEKA, D-2,

                     Defendant.
                                    /

                                         ORDER

           EXTENDING REPORTING DATE TO FEDERAL INSTITUTION

       This matter, having come before the Court on Defendant’s motion, and with the
Government taking no position on Defendant’s motion;
       IT IS HEREBY ORDERED that Defendant’s reporting date to NE Ohio Correction
Center, in Youngstown, Ohio, is extended by 30 days, from April 30, 2013, until May 30,
2013, pursuant to 18 U.S.C. 3143(a).

       SO ORDERED:


                                           S/Robert H. Cleland
                                          ROBERT H. CLELAND
                                          UNITED STATES DISTRICT JUDGE

Dated: April 26, 2013


I hereby certify that a copy of the foregoing document was mailed to counsel of record and/or
pro se parties on this date, April 26, 2013, by electronic and/or ordinary mail.


                                           S/Lisa Wagner
                                          Case Manager and Deputy Clerk
                                          (313) 234-5522
